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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 UNITED STATES OF AMERICA,

                       Plaintiff,

        v.
                                                     Civil Action No.: 1:21-cv-01644-MN
 UNITED STATES SUGAR
 CORPORATION, UNITED SUGARS
 CORPORATION, IMPERIAL SUGAR
 COMPANY, and LOUIS DREYFUS
 COMPANY LLC.
                 Defendants.


                                    NOTICE OF SERVICE

       I hereby certify that, on February 11, 2022, the United States caused the attached (1)

Notice of Subpoena of Andrew Carter; (2) Notice of Subpoena of Adam Henderson; and (3)

Notice of Subpoena of Meera Ramachandra Hamill, to be served on the following counsel for

Defendants by electronic mail:


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Counsel for Defendants Imperial Sugar
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Dated: February 11, 2022
                                            FOR PLAINTIFF
                                            UNITED STATES OF AMERICA

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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 UNITED STATES OF AMERICA,

                       Plaintiff,

        v.
                                                    Civil Action No.: 1:21-cv-01644-MN
 UNITED STATES SUGAR
 CORPORATION, UNITED SUGARS
 CORPORATION, IMPERIAL SUGAR
 COMPANY, and LOUIS DREYFUS
 COMPANY LLC.
                 Defendants.


                           PLANTIFF’S NOTICE OF DEPOSITION

       Pursuant to Federal Rules of Civil Procedure 30 and 45, Plaintiff United States of

America hereby provides notice that it is serving a subpoena to Andrew Carter for oral

deposition testimony to be taken at 10:00 am on February 22, 2022. The deposition will be taken

by audio-visual and/or stenographic recording and will continue from day to day until concluded.



Dated: February 11, 2022
                                                    FOR PLAINTIFF
                                                    UNITED STATES OF AMERICA

                                                    /s/ Jill Ptacek
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                           UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE



 UNITED STATES OF AMERICA,

                       Plaintiff,

        v.
                                                    Civil Action No.: 1:21-cv-01644-MN
 UNITED STATES SUGAR
 CORPORATION, UNITED SUGARS
 CORPORATION, IMPERIAL SUGAR
 COMPANY, and LOUIS DREYFUS
 COMPANY LLC.
                 Defendants.


                           PLANTIFF’S NOTICE OF DEPOSITION

       Pursuant to Federal Rules of Civil Procedure 30 and 45, Plaintiff United States of

America hereby provides notice that it is serving a subpoena to Alan Henderson for oral

deposition testimony to be taken at 9:00 am EST on February 25, 2022, by remote/ video

conference. The deposition will be taken by audio-visual and/or stenographic recording and will

continue from day to day until concluded.



Dated: February 11, 2022
                                                    FOR PLAINTIFF
                                                    UNITED STATES OF AMERICA

                                                    /s/ Jill Ptacek
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                          UNITED STATES DISTRICT COURT
                          FOR THE DISTRICT OF DELAWARE



 UNITED STATES OF AMERICA,

                       Plaintiff,

        v.
                                                    Civil Action No.: 1:21-cv-01644-MN
 UNITED STATES SUGAR
 CORPORATION, UNITED SUGARS
 CORPORATION, IMPERIAL SUGAR
 COMPANY, and LOUIS DREYFUS
 COMPANY LLC.
                 Defendants.


                         PLANTIFF’S NOTICE OF DEPOSITION

       Pursuant to Federal Rules of Civil Procedure 30 and 45, Plaintiff United States of

America hereby provides notice that it is serving a subpoena to Meera Ramachandra

Hamill for oral deposition testimony to be taken at 10:00 am EST on February 17, 2022,

by remote/ video conference. The deposition will be taken by audio-visual and/or

stenographic recording and will continue from day to day until concluded.




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Dated: February 11, 2022
                                         COUNSEL FOR PLAINTIFF
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